Case: 5:06-cv-00243-JMH-REW Doc #: 233 Filed: 03/28/08 Page: 1 of 4 - Page ID#: 2330



                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION AT LEXINGTON


                                                                  FILED ELECTRONICALLY

IN RE CLASSICSTAR MARE LEASE                      )     MDL No.     1877
LITIGA TION                                       )
                                                  )
                                                  )     Master File:
                                                  )     Civil Action No.: 5:07-cv-353-JMH
                                                  )
AN                                                )
                                                  )
WEST HILLS FARS, LLC, ET AL.                      )
                                                  )
                            PLAITIFFS             )
v.                                                )     CASE NO.: 06-243-JMH
                                                  )
CLASSICSTAR, LLC, ET AL.                          )
                                                  )
                            DEFENDANTS.           )


                PLAINTIFFS' MOTION FOR DEFAULT JUDGMENT
           AGAINST DEFENDANT. NATIONAL EQUINE LENDING CO.. LLC


       Plaintiffs, West Hills Farms, LLC, Arbor Farms, LLC, Nelson Breeders, LLC,

MacDonald Stables, LLC, and Jaswinder and Monica Grover (collectively referred to herein as

"Plaintiffs"), hereby move, pursuant to Fed.R.Civ.P. 55, for default judgment against Defendant

National Equine Lending Co., LLC ("NELC"). As grounds for the motion, Plaintiffs state as

follows:

       This action was originally fied on July 28, 2006, naming NELC as a defendant. On

August 10,2006, NELC was served with the Summons and Complaint (Case No. 06-243 Docket

Entry Number 8.) NELC requested and was granted an extension of time to respond to that

Complaint. Since that date, a Second and Third Amended Complaint have been fied. On March
 Case: 5:06-cv-00243-JMH-REW Doc #: 233 Filed: 03/28/08 Page: 2 of 4 - Page ID#: 2331



24, 2008, Plaintiffs' counsel informed counsel for NELC that Plaintiffs demanded that NELC

answer or otherwise respond to the Third Amended Complaint. To date, NELC has made no

response.

       For the foregoing reasons, Plaintiffs respectfully requests that the Court enter default

judgment against Defendant, National Equine Lending Co., LLC on Plaintiffs' claims against it.


                                            Respectfully submitted,


                                            Isl Barry D. Hunter
                                            Barry D. Hunter
                                            Paul E. Sullivan
                                            Medrith Lee Norman
                                            Frost Brown Todd, LLC
                                            250 West Main Street, Suite 2700
                                            Lexington Kentucky 40507

                                            And

                                            Robert C. Webb
                                            Frost Brown Todd LLC
                                            400 West Market Street, 32nd Floor
                                            Louisville, Kentucky 40202-3363
                                            Telephone: (502) 589-5400
                                            Facsimile: (502) 581-1087
                                            Attorneys for Plaintiffs West Hills Farms, LLC,
                                            Arbor Farms, LLC, Nelson Breeders, LLC,
                                            MacDonald Stables, LLC, Jaswinder Grover and
                                            Monica Grover




                                               2
 Case: 5:06-cv-00243-JMH-REW Doc #: 233 Filed: 03/28/08 Page: 3 of 4 - Page ID#: 2332




                                                CERTIFICA TE OF SERVICE


         This is to certify that a true and correct copy of             the foregoing has been electronically fied


on March 28, 2008, with the Clerk of the Court by using the CM/CF system, which will send a

notice of electronic fiing to the following:


Robert M. Anderson                                                Amanda Brockmann
randerson~vancott. com                                            abrockmann~bsglex. com

Nicholas Deenis                                                   Judy A. Clausen
nd~.~nis.(g.~tJ~.d-l~Y,.Ç9il                                      içl.~ll~~.n(gmll.m.hy¡lnd~rs.Q.nl-~w.,çQln

T. Parker Douglas                                                 Sherryll M. Dunaj
p.dmuÛ-as.(g-ljd-l¡lw.,ÇQil                                       dllllfÚSßYSl~ph~lls-lymLçQil

Barbara B. Edelman                                                Eric D. Freed
Edelman~dinslaw. com,                                             efreed~cozen. com

John G. Irvin, Jr                                                 Brian M. Johnson
i irvin~ksattorneys. com                                          bmi~gdm.com,

Romaine C. Marshall                                               Janet Knauss Larsen
rcmarshall~hollandhart. com                                       lari a~fosterpdx. com

Catherine L. Sakach                                               Jeffrey Weston Shields
csakach~wolfb lock. com                                           i shields~ioneswaldo. com

1. Ronald Sim                                                     Christopher B. Snow
jrsim~stoe1.com                                                   cbs~clydesnow. com

David P. Thatcher                                                 T. Scott White
david. thatcher~chamber1ainlaw. com                               tsw~morganandpotinger. com

Richard 1. Idell                                                  Michael 1. Gartland
Rlç.h¡lrdjd.~l-(gid~l-.s.~-ll~LçQm                                mg~.rt-lfllld.Ciwis.~.d.~Lç.Qm

Timothy S. Arnold                                                 Ian M. Comisky
tjm¡lm(g.b.kf::-l~w,.ç.Qm                                         icomisky~blan krome. com




                                                              3
 Case: 5:06-cv-00243-JMH-REW Doc #: 233 Filed: 03/28/08 Page: 4 of 4 - Page ID#: 2333




Jayson E. Blake                            Daniel L. Berman
i eb~miller1awpc. co                       dlb~bermansavaqe.com



                                             Isl Barry D. Hunter
                                             Counsel for West Hills Farms, LLC,
                                             Arbor Farms, LLC, Nelson Breeders, LLC,
                                             MacDonald Stables LLC and Jaswinder and
                                             Monica Grover




LEXLibrary 0108868.0536983 361324v1    4
